16-13607-smb         Doc 477       Filed 09/21/18 Entered 09/21/18 16:42:55            Main Document
                                                 Pg 1 of 3


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 In re:                                                         :   Chapter 11
                                                                :
 WONDERWORK, INC.,                                              :   Case No. 16-13607 (MKV)
                                                                :
                                        Debtor.                 :
                                                                :
 ---------------------------------------------------------------X

         NOTICE OF: (I) ENTRY OF ORDER CONFIRMING THE TRUSTEE’S
        AMENDED CHAPTER 11 PLAN; AND (II) ESTABLISHING DEADLINES
      FOR FILING (A) ADMINISTRATIVE EXPENSE CLAIMS, (B) PROFESSIONAL
        FEE CLAIMS, AND (C) EXECUTORY CONTRACT REJECTION CLAIMS

 A.      TRUSTEE’S CHAPTER 11 PLAN CONFIRMED

               PLEASE TAKE NOTICE that on September 21, 2018 (the “Confirmation
 Date”), the Bankruptcy Court entered an Order [Docket No. 475] (the “Confirmation
 Order”) confirming the Amended Chapter 11 Plan of Liquidation for the Bankruptcy Estate of
 WonderWork, Inc. as Proposed by the Chapter 11 Trustee, dated August 8, 2018 [Docket No.
 435] (the “Plan”).

               PLEASE TAKE FURTHER NOTICE that copies of the Plan and the
 Confirmation Order are available on the Court’s website at http://www.ecf
 .nysb.uscourts.gov. Further information may be obtained by calling Trustee’s counsel
 at (212) 594-5000 (Attn: Ms. Denise Cahir).

 B.      ADMINISTRATIVE CLAIMS BAR DATE

               PLEASE TAKE FURTHER NOTICE that, except for Professional Fee
          1
 Claims and United States Trustee quarterly fees, all Persons and Entities including, but
 not limited to, individuals, partnerships, corporations, estates, trusts and governmental
 units holding Administrative Expense Claims against the Estate must file a request for
 allowance of such Administrative Expense Claims within thirty (30) days after the
 occurrence of the Effective Date (the “Administrative Claims Bar Date”). The Trustee
 shall provide notice of the Effective Date promptly upon its occurrence. Requests for
 payment of Administrative Expense Claims, together with supporting documentation,
 must be filed with the Bankruptcy Court and the original delivered by first-class mail,
 overnight delivery or hand delivery so as to be received, no later than the




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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
      the Plan.
16-13607-smb    Doc 477     Filed 09/21/18 Entered 09/21/18 16:42:55       Main Document
                                          Pg 2 of 3


 Administrative Claims Bar Date, by Trustee’s counsel, Togut, Segal & Segal LLP, One
 Penn Plaza, Suite 3335, New York, NY 10119 (Attn: Ms. Denise Cahir).

 C.    PROFESSIONAL FEE CLAIM BAR DATE

               PLEASE TAKE FURTHER NOTICE that all Persons and Entities seeking
 an allowance of their Professional Fee Claim for services rendered and expenses
 incurred through and including the Confirmation Date under sections 330 or 331 of the
 Bankruptcy Code shall file their respective applications for allowance of their
 Professional Fee Claim by not later than the date which is thirty (30) days after the
 occurrence of the Effective Date or such other date as may be fixed by the Bankruptcy
 Court for services rendered through the Confirmation Date (the “Professional Fee
 Claims Bar Date”). Applications for payment of Professional Fee Claims, together with
 supporting documentation, must be filed with the Bankruptcy Court and the original
 delivered by first-class mail, overnight delivery or hand delivery so as to be received, no
 later than the Professional Fee Claims Bar Date, by Trustee’s counsel, Togut, Segal &
 Segal LLP, One Penn Plaza, Suite 3335, New York, NY 10119 (Attn: Ms. Denise Cahir).

 D.    EXECUTORY CONTRACT REJECTION BAR DATE
               PLEASE TAKE FURTHER NOTICE that Claims against the Estate arising
 out of the rejection of Executory Contracts pursuant to the Plan (“Executory Contract
 Rejection Claims”), if any, must be filed with the Court no later than forty-five (45)
 days after the later of service of (a) notice of entry of an order approving the rejection
 of such Executory Contract which Order may be the Confirmation Order, and
 (b) notice of occurrence of the Effective Date (the “Executory Contract Rejection Bar
 Date”). Requests for payment of Executory Contract Rejection Claims, together with
 supporting documentation, must be filed with the Bankruptcy Court and the original
 delivered by first-class mail, overnight delivery or hand delivery so as to be received, no
 later than the Executory Contract Rejection Bar Date, by Trustee’s counsel, Togut, Segal
 & Segal LLP, One Penn Plaza, Suite 3335, New York, NY 10119 (Attn: Ms. Denise
 Cahir).
          HOLDERS     OF    ADMINISTRATIVE    EXPENSE  CLAIMS,
 PROFESSIONAL FEE CLAIMS, AND EXECUTORY CONTRACT REJECTION
 CLAIMS WHO FAIL TO FILE A TIMELY REQUEST FOR THE ALLOWANCE OF
 SUCH CLAIMS SHALL BE FOREVER BARRED, ESTOPPED AND ENJOINED
 FROM ASSERTING SUCH CLAIMS AGAINST THE ESTATE AND SUCH
 CLAIMANTS SHALL NOT BE ENTITLED TO ANY DISTRIBUTIONS ON
 ACCOUNT OF SUCH CLAIMS UNDER THE PLAN OR OTHERWISE FROM THE
 ESTATE.

           PLEASE TAKE FURTHER NOTICE THAT ALL REQUESTS OR
 APPLICATIONS FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIMS,
 PROFESSIONAL FEE CLAIMS, OR EXECUTORY CONTRACT REJECTION
 CLAIMS MUST BE SUBMITTED IN A FORM CONSISTENT WITH THE
 BANKRUPTCY CODE, THE BANKRUPTCY RULES AND THE LOCAL RULES OF
 BANKRUPTCY PROCEDURE FOR THE SOUTHERN DISTRICT OF NEW YORK.


                                             2
16-13607-smb   Doc 477   Filed 09/21/18 Entered 09/21/18 16:42:55   Main Document
                                       Pg 3 of 3


         PLEASE TAKE FURTHER NOTICE THAT THE PLAN AND
 CONFIRMATION ORDER CONTAIN OTHER PROVISIONS THAT MAY AFFECT
 YOUR RIGHTS. YOU ARE ENCOURAGED TO REVIEW THE PLAN AND
 CONFIRMATION ORDER IN THEIR ENTIRETY.

                                    STEPHEN S. GRAY,
 Dated: September 21, 2018           Not Individually But Solely in
        New York, New York           His Capacity as Chapter 11 Trustee,
                                    By his Counsel:


                                    /s/ Scott E. Ratner
                                    TOGUT, SEGAL & SEGAL LLP
                                    Scott E. Ratner
                                    One Penn Plaza, Suite 3335
                                    New York, New York 10119
                                    (212) 594-5000




                                        3
